Case 1:16-cv-00347-JMS-RLP Document 134 Filed 09/08/17 Page 1 of 4   PageID #: 887




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  Attorneys for Defendant
  APT-320, LLC

                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

  ATOOI ALOHA, LLC, an Nevada           )   CIVIL NO. 16-00347 JMS RLP
  Limited Liability Company; CRAIG B.   )
  STANLEY, as Trustee for THE           )   CERTIFICATE OF SERVICE
  EDMON KELLER AND                      )
  CLEAVETTE MAE STANLEY                 )   [re: DEFENDANT APT-320,
  FAMILY TRUST; CRAIG B.                )   LLC’S JOINDER IN PLAINTIFFS
  STANLEY, individually; MILLICENT      )   ATOOI ALOHA, LLC, CRAIG B.
  ANDRADE, individually,                )   STANLEY, AS TRUSTEE FOR
                                        )   THE EDMOND KELLER AND
                    Plaintiffs,         )   CLEAVETTE MAE STANLEY
                                        )   FAMILY TRUST, CRAIG B.
        vs.                             )   STANLEY, AND MILLICENT
                                        )   ANDRADE’S SECOND REQUEST
  ABNER GAURINO; AURORA                 )   FOR PRODUCTION OF
  GAURINO; ABIGAIL GAURINO;             )   DOCUMENTS TO DEFENDANT
  INVESTORS FUNDING                     )   CRISTETA C. OWAN, DATED
  CORPORATION, as Trustee for an        )   AUGUST 30, 2017]
Case 1:16-cv-00347-JMS-RLP Document 134 Filed 09/08/17 Page 2 of 4   PageID #: 888




  unrecorded Loan Participation           )
  Agreement dated June 30, 2014; APT-     )
  320, LLC, a Hawaii Limited Liability    )
  Company; CRISTETA C. OWAN, an           )
  individual; ROMMEL GUZMAN;              )
  FIDELITY NATIONAL TITLE &               )
  ESCROW OF HAWAII and DOES 1-            )
  100 Inclusive,                          )
                                          )
                     Defendants.          )
                                          )

                           CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on the date indicated below, a copy of

 DEFENDANT APT-320, LLC’S JOINDER IN PLAINTIFFS ATOOI ALOHA, LLC,

 CRAIG B. STANLEY, AS TRUSTEE FOR THE EDMOND KELLER AND

 CLEAVETTE MAE STANLEY FAMILY TRUST, CRAIG B. STANLEY, AND

 MILLICENT ANDRADE’S SECOND REQUEST FOR PRODUCTION OF

 DOCUMENTS TO DEFENDANT CRISTETA C. OWAN, DATED AUGUST 30,

 2017, will be served upon the following parties:

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                                           2
Case 1:16-cv-00347-JMS-RLP Document 134 Filed 09/08/17 Page 3 of 4      PageID #: 889




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                   FIDELITY NATIONAL TITLE &
                   ESCROW OF HAWAII




                                         3
Case 1:16-cv-00347-JMS-RLP Document 134 Filed 09/08/17 Page 4 of 4        PageID #: 890




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             Attorney for Defendant
             CRISTETA C. OWAN

             DATED: Honolulu, Hawaii; September 8, 2017.


                                      /s/ Charles A. Price
                                      CHARLES A. PRICE
                                      Attorney for Defendant
                                      APT-320




                                        4
